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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION


RONALD MILLARD IRBY #583538                          CASE NO. 2:21-CV-00010 SEC P

VERSUS                                               JUDGE TERRY A. DOUGHTY

MARCUS MEYERS                                        MAGISTRATE JUDGE KAY

                                          JUDGMENT

          The Report and Recommendation of the Magistrate Judge having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

          IT IS ORDERED that the Petition for Writ of Habeas Corpus [Doc. No. 1] filed by

Plaintiff Ronald Millard Irby (“Irby”) is hereby DISMISSED WITH PREJUDICE as time-

barred.

          MONROE, LOUISIANA, this 7th day of June, 2021.




                                                              TERRY A. DOUGHTY
                                                         UNITED STATES DISTRICT JUDGE
